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                      IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF FEDERAL DISTRICT OF NEBRASKA


    UNITED STATES OF AMERICA,                       Case No. 8:22CR222
                          Plaintiff,

                                              UNOPPOSED MOTION TO
           v.
                                                       CONTINUE

    MARK BERNAL,
                          Defendant.


          COMES NOW, Mark Bernal, by and through counsel, and hereby
   moves this Court for an order continuing the Sentencing in the above-
   captioned matter currently set for August 16, 2023, at 11:00 a.m., for the
   following good and sufficient reasons, to wit:


      1. Counsel for Defendant is scheduled for back-to-back jury trials
          starting the week of August 14th, 2023, in the matters of State of
          Nebraska v. Travis Belina, CR 22-246, Madison County, Nebraska
          and State of Nebraska v. Travis Belina, CR 23-31, Madison County,
          Nebraska.
      2. Counsel for Defendant anticipates that both trials will take place as
          scheduled and are unlikely to be resolved without trial.
      3. Counsel for Defendant has contacted Counsel for Plaintiff, who
          does not oppose the continuance.


          WHEREFORE, for the good and sufficient reasons set forth above,
   counsel for Defendant hereby moves this Court for an Order continuing
   the Sentencing scheduled in the above-captioned matter for a reasonable
   period of time into the future.




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                                            Respectfully submitted,
                                            Mark Bernal, Defendant


                                            /s/ Eric Hagen
                                            Eric Hagen #27326,
                                            BERRY LAW FIRM
                                            1414 Harney Street, Suite 400
                                            Omaha, NE 68102
                                            (402) 466-8444
                                            Eric.hagen@berrylawfirm.com
                                            Lawyers for Defendant



                            CERTIFICATE OF SERVICE


         The undersigned certifies that he caused a true and correct copy
   of the above and foregoing to be served upon the Plaintiff herein by
   electronic service of the same on June 20, 2023.


                                            /s/ Eric Hagen
                                            Eric Hagen, # 27326




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